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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

MALIK ABDUL-MUHAMMAD, et al.,                   )
                                                )
      Plaintiffs,                               )
                                                )
v.                                              )      No. 4:04CV57CDP
                                                )
GARY KEMPKER, et al.,                           )
                                                )
      Defendants.                               )

                      DEFENDANTS’ MOTION TO DISMISS
                    TWO CLAIMS FOR FAILURE TO EXHAUST

      Defendants Gary Kempker, Steve Long, Winfrey Dickerson, Allen Luebbers, Pat

Smith, Charles Dwyer, Thomas King, George Lombardi, Don Roper, and Dora Schriro

move this Court to dismiss two unexhausted claims in plaintiff’s complaint pursuant to

the Prison Litigation Reform Act (PLRA), 42 U.S.C. §1997e(a), and for failure to state a

claim pursuant to Fed.R.Civ.P. 12(b)(6).

      In support of this motion to dismiss, defendants incorporate by this reference the

detailed Memorandum of Law filed simultaneously herewith.

      WHEREFORE, Defendants respectfully request that the Court dismiss the two

unexhausted claims in plaintiff’s complaint, and grant any further relief the Court may

deem appropriate.




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                                          Respectfully submitted,

                                          JEREMIAH W. (JAY) NIXON
                                          Attorney General

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                             CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2007, the foregoing was filed electronically with
the Clerk of the Court to be served by operation of the Court's electronic filing system
upon:

Lawrence R. Goldberg
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                                                 /s/ Dana C. Ceresia
                                                 Assistant Attorney General




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